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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KATHY TEAGUE,                     )
                                  )
     Plaintiffs,                  )    CIVIL ACTION FILE NO.:
                                  )
v.                                )    ______________________
                                  )
ALDRIDGE PITE HAAN, LLP,          )
                                  )
     Defendant.                   )
                                  )

                   EXHIBIT “D” AFFIDAVIT OF GARNISHMENT
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                                                             of 6E-Q3PKDK44-3JA

                                                              CLERK OF STATE COURT
                                                              COBB COUNTY, GEORGIA
                                                                 22-G-343
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